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                               IN THE UNITED STATES COURT OF APPEALS
                                       FOR THE FOURTH CIRCUIT

                                                        *
        UNITED STATES OF AMERICA
                                                        *
                 v.                                           No. 07-4059 (L)
                                                        *
        PAULETTE MARTIN, et al.
                                                        *

        *        *     *       *       *       *        *     *        *       *        *     *       *

                               MOTION TO EXTEND TIME FOR BRIEFING

                       Comes now Appellant herein, Paulette Martin, by and through her counsel, Michael

        D. Montemarano, Esq., and Michael D. Montemarano, P.A., as appointed counsel pursuant to the

        CJA, and as lead appellate counsel for the five other Appellants herein, and does move for the

        extension of the time for the briefing of this matter, and in support thereof does state:

                 1.    The Joint Brief of Appellants is due on September 10, 2010, per the current briefing

        order.

                 2.    Lead appellate counsel (undersigned) was contacted last week by Alan Dexter

        Bowman, Esq., counsel for Co-Appellant Lanora Ali (in related case #07-4062), relative to his need

        for additional time for submitting materials regarding his client to lead counsel for inclusion in the

        joint brief and JA. See Appellants’ Motion to Extend Time for Briefing, filed August 10, 2010. Lead

        appellate counsel was informed that Bowman would submit his materials1 to counsel by September

        10, 2010.

                 1
                  “Materials” should be understood, as lead counsel has instructed Bowman, to include
        the following separate items specific to his client: a list of materials identified for the JA;
        separate arguments and summaries of each, each to be added into the brief in a unitary whole; a
        statement of relevant facts to be incorporated by lead counsel into the factual portion of the brief;
        and a separate table of citations to be incorporated, etc. Lead counsel will be responsible to add
        the JA references to the brief
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                3.      In addition, new counsel, Daniel Goodman, Esq., United States Department of

        Justice, recently has entered his appearance for Appellee and he requires time to assimilate this

        massive case.

                4.      Counsel for Appellant therefore requests that the time for briefing be extended, and

        the due date of the Joint Brief of Appellants be rescheduled to no earlier than October 12, 2010.

               5.       Counsel for Appellant is authorized to state that counsel for Appellee, consents to the

        grant of the requested relief.

                                                        Respectfully submitted,



        September 8, 2010                                       /s/
                                                        MICHAEL D. MONTEMARANO

                                                        Michael D. Montemarano, P.A.
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                                                        Elkridge, Maryland 21075-5016
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                                                        Counsel of Record/CJA Counsel
                                                              For Appellant


                                          CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on or before this 8th day of September, 2010, a copy of the
        foregoing Motion to Extend Time for Briefing was filed via CM-ECF, and served via direct email,
        on Daniel Greenberg, Esq., US Department of Justice, 36 South Charles Street, Suite 400, Baltimore,
        MD 21201.


                                                               /s/
                                                        MICHAEL D. MONTEMARANO




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